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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                        )
 AMERICAN OVERSIGHT,                    )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                    Case No. 17-1261 (CRC)
                                        )
 U.S. ENVIRONMENTAL PROTECTION          )
 AGENCY                                 )
                                        )
                           Defendant. )

                    JOINT STATUS REPORT AND PROPOSED SCHEDULE

          The parties, by and through their undersigned counsel, respectfully submit the following

pursuant to the Court’s April 24, 2018 minute order:

          1.       Productions in this Freedom of Information Act (“FOIA”) case are now complete.

Defendant Environmental Protection Agency (“EPA”) completed its production of records

responsive to Plaintiff American Oversight’s FOIA requests on May 2, 2018.

          2.       With regard to the Icahn FOIA request, Compl. ¶ 16, there are no outstanding

issues.

          3.       With regard to the Pruitt FOIA request, Compl. ¶ 12, the parties have agreed that

EPA conducted an adequate search for records. However, after meeting and conferring regarding

redactions applied under exemptions (b)(5) and (b)(6), the parties are in disagreement as to

whether there is a legitimate basis for certain redactions. Accordingly, American Oversight is

challenging (a) application of (b)(5) redactions to calendar entries for which either the event did

not ultimately occur or for which the custodian did not attend the event, and (b) complete

redaction under exemption (b)(6) of all phone numbers in phone logs for certain EPA officials.




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       4.       The parties have conferred and respectfully propose the following summary

judgment briefing schedule to address the outstanding issues in the case:

   •   Defendant’s Motion for Summary Judgment and Vaughn Index due: June 28, 2018

   •   Plaintiff’s Cross-Motion and Opposition due: July 27, 2018

   •   Defendant’s Cross-Opposition and Reply due: August 23, 2018

   •   Plaintiff’s Reply due: September 7, 2018

Dated: May 7, 2018                                  Respectfully submitted,

                                                            /s/
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